             Case 2:19-cv-00104-LPR Document 25 Filed 11/06/20 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

KENNETH RUSSELL
JACQUELYN RUSSELL                                                                  PLAINTIFFS

v.                                    Case No. 2:19-cv-104-LPR

STEVENS TRANSPORT CD, INC. and
RACHEAL LEIBOVICH                                                                DEFENDANTS


                                    PROTECTIVE ORDER

        A dispute has risen about the alleged confidentiality of certain documents that will or may

be produced by the parties in discovery. The purpose of this Agreement and Order is to control

the disputes by providing an agreed method of dealing with material alleged by a party to be

confidential. This Agreement and Order is to preserve and maintain the confidentiality of certain

limited confidential and proprietary which may be disclosed or obtained by the parties. The parties

maintain such documents are commercially confidential or proprietary or contain trade secrets,

and that releasing the documents to competitors or others would enable them to exploit this

information for their own economic gain. The terms of confidentiality are as follows and apply to

all parties:

        1.       If a party believes documents produced in discovery legitimately qualify as

confidential pursuant to the meaning of that term in Rule 26, the documents will be stamped or

otherwise marked “Confidential” or “Subject to Protective Order,” or will contain a similar

designation to identify the documents to which this Protective Order applies. For the purposes of

this Protective Order the terms “Confidential” and “Subject to Protective Order” mean the same

thing. The parties understand the marking of “Confidential” or “Subject to Protective Order” on

an item is a representation to the Court by counsel and the parties a good faith investigation has
             Case 2:19-cv-00104-LPR Document 25 Filed 11/06/20 Page 2 of 4




been conducted and the information so marked has not previously been shared with the public.

The purpose of this Order is to facilitate discovery, not give a party the blanket right to stamp non-

confidential information as confidential just because it is easier. The only exception to the

stamping requirement is medical records, as there is no need to stamp medical records as

confidential. Those records by definition are to be treated as confidential and thus subject to the

terms of this Order. This Protective Order covers discovery (including but limited to depositions)

and motions only. This Protective Order does not cover trial. If a party wants trial testimony or

exhibits to be sealed, it must make such a motion closer to trial.

        2.       Counsel for the parties to this case and those assisting counsel, including experts

and consultants, may use such documents in the ordinary course of the prosecution or defense of

this litigation. In connection with such use, the documents and other materials may be shown to

the parties, counsel for the parties and their staffs, agents or representatives for the parties, experts

retained by and assisting counsel in connection with this case, court reporters in connection with

the taking of depositions, and to the Court and its staff.

        3.       The documents, or information contained therein, may not be further disseminated

to any person or entity not approved in this Order without permission of the Court.

        4.       Any person or firm to whom such documents are to be disclosed shall first be

advised by counsel making the disclosure that, pursuant to this Protective Order, such person or

firm may not divulge any such information to any non-qualified person.

        5.       The production of such documents by a party shall not constitute a waiver of any

privilege or claim or right of withholding or confidentiality it may have.

        6.       If a party disagrees with the designation of a record of document as “confidential”,

the party may request specific documents be removed from the protection of this Protective Order.



                                                   2
            Case 2:19-cv-00104-LPR Document 25 Filed 11/06/20 Page 3 of 4




Such a request shall be made in writing (email is appropriate as well) to opposing counsel, and

must contain a reasonable description of precisely what materials are at issue. If the parties are

unable to resolve the issue through good faith negotiations within twenty (20) days of the party’s

receipt of any such request, the party desiring protection must take action by filing an appropriate

motion to seek a judicial determination of the protected status of any document(s) at issue. If such

a motion is filed, the document(s) at issue shall remain subject to this Protective Order until such

time as the Court orders otherwise. If no timely motion is filed, the dispute is automatically

resolved, and protection is waived.

       7.       Upon termination of this litigation, any confidential documents produced by a party

and still subject to this Protective Order, including any copies, shall either be discarded or returned

to counsel who produced them. Counsel or the party producing confidential documents may

provide opposing parties a letter clarifying the documents and any copies have been destroyed. In

the event a third party retains copies in violation of the Protective Order, and opposing counsel is

aware of this, opposing counsel will provide counsel for the parties with the name and address of

all such third parties. This paragraph does not apply to the Court or court staff.

       8.       After termination of this litigation, the provision of this Protective Order shall

continue to be binding, and this Court shall retain jurisdiction over the parties, their attorneys and

experts for the enforcement of the provisions of this Protective Order.



ENTERED this 6th day of November 2020.



                                                       ________________________________
                                                       HONORABLE LEE P. RUDOFSKY
                                                       UNITED STATES DISTRICT JUDGE



                                                  3
        Case 2:19-cv-00104-LPR Document 25 Filed 11/06/20 Page 4 of 4




Approved By:


_________________________________
Sheila Campbell
Attorney for Plaintiffs


_________________________________
Bruce Munson
Emily Helmick Hart
Attorney for Defendants




                                      4
